                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:12-cv-00125-MR
               (CRIMINAL CASE NO. 1:09-cr-00013-MR-9)


YVONNE MARIE FOUNTAIN,           )
                                 )
                   Petitioner,   )
                                 )                     MEMORANDUM OF
     vs.                         )                     DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
                   Respondent.   )
________________________________ )

       THIS MATTER is before the Court on the Order of the Court of Appeals

for the Fourth Circuit [CV Doc. 34]1 remanding this matter for an evidentiary

hearing on Petitioner’s claim of ineffective assistance of counsel as asserted

in her motion to vacate pursuant to 28 U.S.C. § 2255, as amended [CV Docs.

1, 5]. The Court held an evidentiary hearing on February 9, 2016.

I.     FACTUAL BACKGROUND

       The Asheville Police Department began conducting surveillance of

Petitioner’s residence in the summer of 2007. Officers later searched the




1 Citations to the record herein contain the relevant docket number preceded by either

the letters “CV” denoting that the document is listed on the docket in the civil case file
number 1:12-cv-00125-MR, or the letters “CR” denoting that the document is listed on the
docket in the criminal case file number 1:09-cr-00013-MR-9.


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trash from the residence that Petitioner shared with her boyfriend and co-

defendant Dennis Bruton and found clear plastic bags with cocaine residue

on them. [CR Trial Tr. at 553-55]. In August 2008, while Detective Jeffrey

Rollins was conducting surveillance of Petitioner’s residence, he saw

Petitioner leave her residence and get into a gray Infiniti parked outside of

her home. [Id. at 558-59]. Petitioner sat in the car for approximately two

minutes and then “exited the vehicle with a large amount of U.S. currency in

her left hand.” [Id. at 559]. On that same date, Petitioner’s co-defendant

Kenneth Foster was seen by officers at Petitioner’s and Bruton’s residence.

[Id. at 559-60].

      Having learned that Foster’s supply source would be delivering

cocaine to Foster on February 5, 2009, officers obtained search warrants for

Foster’s residence and Petitioner’s and Bruton’s residence, executing both

warrants on the night of February 5, following that delivery. [Id. at 398-99].

During the search of Foster’s residence, agents seized large quantities of

currency from Foster’s jacket pockets, 31.7 grams of powder cocaine on the

stove, half a kilogram of powder cocaine on top of the refrigerator, and four,

individually wrapped bags containing a total of 156.6 grams of crack cocaine

on the stove, among other items. [Id. at 399, 403, 607, 609-11, 614].




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        At approximately the same time officers were executing a search at

Foster’s residence, other officers searched the residence of Petitioner and

Bruton. [Id. at 560]. During the search, agents conducted a forcible entry

after unsuccessfully trying to gain entry upon request.           [Id. at 562].

Numerous people were in the home, and when agents came to Petitioner’s

and Bruton’s bedroom door, it was blocked. [Id.]. Officers ultimately gained

entry to the bedroom. After noticing another door and kicking it open, officers

saw Petitioner standing in her pajamas next to the toilet. [Id. at 563-66].

Officers found approximately 76 grams of crack cocaine on the toilet seat, in

the toilet, and on the floor beside the toilet. [Id. at 569-70, 619, 621-22].

Additionally, officers seized from the bedroom approximately $21,000 in

cash and digital scales with cocaine residue. [Id. at 570-71]. Officers also

seized a power bill in Petitioner’s name. [Id. at 572].

II.     PROCEDURAL BACKGROUND

        Petitioner was initially charged by way of a criminal complaint on

February 6, 2009. [CR Doc. 1]. At her initial appearance on the criminal

complaint, Petitioner requested the appointment of counsel, and the

Magistrate Judge appointed Assistant Federal Defender Fredilyn Sison to

represent her. [See Oral Order of Feb. 6, 2009]. On February 17, 2009,

Petitioner was charged, along with fourteen co-defendants, in a Bill of


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Indictment with conspiracy to possess with intent to distribute crack cocaine,

in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count One); and using a

communication facility in committing and in causing and facilitating the drug

conspiracy, in violation of 21 U.S.C. § 843(b) (Count Two). [CR Doc. 12:

Indictment].

      On March 3, 2009, Ms. Sison was granted leave to withdraw from

representation of Petitioner on the grounds that Petitioner had retained

private counsel, Jack Stewart. [See CR Docs. 114, 116, 128]. On March

30, 2009, the Government filed an Information pursuant to 21 U.S.C. § 851

(“§ 851 Notice”) setting forth Petitioner’s previous conviction for a felony drug

offense. [CR Doc. 153]. On April 21, 2009, Mr. Stewart moved to withdraw

as Petitioner’s attorney on the grounds that Petitioner refused to

communicate him and had told him that she had retained new counsel. [CR

Doc. 189].     On May 12, 2009, the Magistrate Judge entered an Order

allowing Mr. Stewart to withdraw and ordered Petitioner to advise her new

counsel to file a notice of appearance immediately.                  [CR Doc. 229].

Thereafter, on May 26, 2009, attorney Sherlock Grigsby filed a notice of

appearance on behalf of Petitioner. [CR Doc. 236].2


2 Because Mr. Grigsby is not a member of the North Carolina bar or the bar of this Court,

he sought admission pro hac vice, which the Court granted. [CR Docs. 235, 237].


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       On June 19, 2009, the parties filed a Plea Agreement signed by

counsel for the Government, Petitioner, and her counsel. [CR Doc. 250].

Pursuant to the Plea Agreement, Petitioner agreed to plead guilty to Count

One of the Bill of Indictment. In exchange for Petitioner’s guilty plea, the

Government agreed to dismiss Count Two of the Bill of Indictment at the

appropriate time. [Id.].

       A Rule 11 hearing was scheduled before the Magistrate Judge on June

29, 2009. Petitioner appeared at the hearing with Mr. Grigsby. At the very

beginning of the hearing, Mr. Grigsby requested an opportunity to speak with

Petitioner in private. [CR Doc. 765 at 3]. When Petitioner and Mr. Grigsby

returned to the courtroom, Mr. Grigsby announced to the Court that Petitioner

“has decided to withdraw the plea . . . . At this point, she plans to go forward

with trial.” [Id. at 7].

       Petitioner was tried along with co-defendant Bruton and Foster before

a jury beginning on July 6, 2009, with the Honorable Lacy H. Thornburg

presiding.3 Following the presentation of the Government’s case, Petitioner

moved for judgment of acquittal based on the insufficiency of the evidence.

[Id. at 653-57, 759-60]. The Court denied Petitioner’s motion as to Count



3 Following Judge Thornburg’s retirement in 2009, this case was assigned to the
undersigned.
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One, but granted the motion with respect to Count Two based on the

Government’s concession that there was no evidence of Petitioner’s use of

a communication facility during commission of the drug conspiracy. [Id. at

655-56].

      At the conclusion of four days of testimony, the jury found Petitioner

guilty of the drug conspiracy offense. [CR Doc. 297: Fountain Verdict]. The

jury also found that possession with intent to distribute more than 50 grams

but less than 150 grams of crack cocaine was reasonably foreseeable to her

as a member of the conspiracy. [Id. at 1-2].

      Following the jury’s verdict, the Probation Office prepared a

Presentence Report (“PSR”). The probation officer calculated Petitioner’s

total offense level to be 30 and her criminal history category to be I. Based

on this total offense level and criminal history category Petitioner’s guidelines

range would have been 97-121 months. [CR Doc. 306 at 6; 11: PSR].

Petitioner, however, faced a statutory mandatory minimum term of

imprisonment of 240 months in light of her prior felony drug trafficking

conviction. See 21 U.S.C. § 851. Therefore, her applicable guidelines range

was the mandatory minimum of 240 months. U.S.S.G. § 5G1.1(b). The

Court ultimately sentenced Petitioner to 240 months’ imprisonment, the

statutory mandatory minimum. [CR Doc. 349: Judgment].


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      Petitioner appealed, arguing on appeal that the evidence was

insufficient to support her conviction for participation in the charged

conspiracy; that the Court abused its discretion in denying her motion to

sever her trial from the trial of her co-defendants; and that the evidence did

not support the jury’s finding of a single conspiracy. The Fourth Circuit

affirmed the Court’s judgment on March 14, 2011. United States v. Fountain,

416 F. App’x 304 (4th Cir. 2011). Petitioner then filed a petition for writ of

certiorari with the Supreme Court, which petition was denied on October 17,

2011. Fountain v. United States, 132 S.Ct. 218 (2011).

      Eight months later, on June 4, 2012, Petitioner filed the original motion

to vacate her conviction and sentence under 28 U.S.C. § 2255, asserting

twenty-nine issues and five grounds for relief. [CV Doc. 1]. On October 22,

2012, Petitioner filed a motion to amend her motion to vacate, stating that of

the twenty-nine issues and five grounds for relief in her original motion to

vacate, she had narrowed the motion to vacate to fourteen issues and two

grounds for relief. [CV Docs. 5, 6]. In pertinent part, Petitioner claimed that

Mr. Grigsby failed to explain to her that the Government had filed a notice in

accordance with 21 U.S.C. § 851, that it would seek enhanced penalties

based on Fountain’s prior drug-trafficking conviction, and that this notice

would result in a mandatory-minimum sentence of 20 years in prison. [CV


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Doc. 6 at 6-8]. Petitioner also asserted that Mr. Grigsby had a conflict of

interest during his representation of her, because of his friendship with

Foster’s counsel. [Id. at 15-16].

      The Court ordered the Government to respond to Petitioner’s motion

to vacate [CV Doc. 7], and on May 6, 2013, the Government filed a motion

for summary judgment seeking a dismissal of Petitioner’s motion. [CV Doc.

14].4 In support of its summary judgment motion, the Government submitted

an affidavit from Mr. Grigsby, which states, in pertinent part, as follows:

              I explained the Government’s plea offer in length
             with Ms. Fountain. I explained to her that were she to
             be convicted she would face a mandatory twenty
             year sentence in light of her previous conviction and
             the Government’s 851 notice. I made numerous trips
             from DC to Asheville in order to visit Ms. Fountain
             personally. I personally advised Ms. Fountain of the
             Government’s 851 notice and discussed in detail with
             her the facts of her previous conviction. I explained
             to her that per the terms of the Government’s plea
             offer the government would withdraw the 851 notice
             if she were to accept the plea offer.5 I explained to
             her that per the plea offer she would face a
             mandatory minimum of ten years rather than the
             potential twenty years if she were to be convicted. I
             explained this in detail on every visit with Ms.
             Fountain. On at least one occasion Attorney Kevin


4 The Government subsequently filed a corrected version of this motion.   [CV Doc. 15].
5 While Mr. Grigsby testified that the Government had agreed to withdraw the § 851 Notice

upon Petitioner pleading guilty, the Court notes that there is no reference made in the
Plea Agreement to any such agreement. The Government does not appear to dispute,
however, that there was such an agreement between the parties. [See Doc. 42 at 5].
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            McCants was present when I discussed Ms.
            Fountain’s legal options.
                                 *    *    *
            I did not seek a competency hearing for Ms.
            Fountain. Ms. Fountain never requested one, and I
            did not observe anything that would lead me to
            independently request a competency hearing. The
            decision to go to trial was Ms. Fountain’s decision.
            After many trips to visit Ms. Fountain as well as a
            partial plea hearing, Ms. Fountain decided to go to
            trial.

[Doc. 13-1: Grigsby Aff. at 1-2].

      Petitioner filed a response to the Government’s Motion, attaching to

her response an affidavit in which she asserted that Mr. Grigsby “never

explained to [her] what a plea was” and that he had offered her no advice

prior to her plea. [CV Doc. 24 at 28]. Petitioner further stated in her affidavit

that she recalled Mr. Grigsby telling her “that they [were] not going to use the

prior against her” but that this statement was “all she remember[ed].” [Id.].

      On January 21, 2014, this Court entered an Order denying Petitioner’s

motion to vacate. Specifically, the Court concluded that Petitioner had failed

to present a forecast of evidence that Mr. Grigsby’s conduct in advising her

regarding the plea offer and the effect of the § 851 Notice fell outside of the

range of reasonable professional assistance. [CV Doc. 28 at 12-14].

      Petitioner appealed. [CV Doc. 30]. The Fourth Circuit Court of Appeals

granted a limited certificate of appealability solely on the issue of whether


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this Court erred by denying, without an evidentiary hearing, Petitioner’s claim

that counsel rendered ineffective assistance during plea negotiations. [No.

14-6288, Doc. 5]. While the matter was pending before the Fourth Circuit,

the Government, upon reconsideration of the matter, moved to remand the

case for the limited purpose of asking the Court to conduct an evidentiary

hearing on Petitioner’s ineffective assistance claim. [Id., Doc. 46].6 The

Fourth Circuit granted the Government’s motion and remanded the case to

this Court on October 16, 2015. [CV Doc. 34].

       On February 9, 2016, this Court conducted an evidentiary hearing.

Petitioner was represented at the hearing by attorney Eric J. Foster. Mr.

Grigsby testified at the hearing that he was retained by Petitioner’s family in

early May 2009 to represent her following her dissatisfaction with her two

prior court-appointed attorneys. [CV Doc. 39 at 29; see also id. at 60, 70].

According to Mr. Grigsby, Bruton was represented by Mr. Grigsby’s friend

and colleague, Kevin McCants, and Mr. McCants had recommended Mr.



6 The Government’s Motion to Remand erroneously states that the Fourth Circuit granted

a certificate of appealability on two issues : (1) whether the district court erred by denying,
without an evidentiary hearing, Petitioner’s claim that her trial counsel rendered ineffective
assistance by failing properly to advise her during plea negotiations and (2) whether the
district court erred by denying, without an evidentiary hearing, Petitioner’s claim that her
trial counsel represented her while under a conflict of interest. [See id., Doc. 46 at 1]. At
the subsequent evidentiary hearing, counsel for both parties stated their understanding
on the record that the only issue to be considered on remand was the ineffective
assistance claim based on counsel’s performance during plea negotiations.
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Grigsby to Petitioner’s family. [Id. at 8; see also id. at 52]. Mr. Grigsby

testified at the hearing that at no time during his representation of Petitioner

did he learn that she had any limited ability to comprehend or any “learning

limitations.” [Id. at 17]. Mr. Grigsby also testified that no family member ever

brought any such limitations to his attention and that, “based on [his]

observations, there was nothing that stood out as . . . appearing to be a

learning disorder.” [Id. at 17-18].

      Concerning the advice he provided to Petitioner about whether or not

to accept the Government’s plea offer, Mr. Grigsby testified that he visited

Petitioner shortly before the deadline for accepting the Government’s offer

and discussed the proposed plea agreement “in detail.” [Id. at 19]. Mr.

Grigsby testified that he spent “quite a bit of time” with Petitioner. [Id.]. Mr.

Grigsby testified also that he explained to Petitioner, before she signed the

plea agreement and again on the day of her Rule 11 hearing when she

decided to withdraw her plea, that if she declined to plead guilty, she would

face a mandatory-minimum term of 20 years in prison. [Id. at 16, 41-43]. Mr.

Grigsby testified that he also advised Petitioner that if she pleaded guilty,

“the mandatory minimum, per the plea agreement, would be ten years rather

than 20 years.” [Id. at 16]. Mr. Grigsby testified that he explained these

consequences to Petitioner “at every meeting several times.” [Id. at 16; see


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also id. at 18 (“Every time I spoke with Ms. Fountain, that was brought up

and discussed at every meeting.”)].            Mr. Grigsby testified that he also

explained these consequences to Petitioner’s sister and possibly to her

father. [Id.].

      Mr. Grigsby testified that, during the meeting in which Petitioner signed

the Plea Agreement, he reviewed the Government’s evidence of Petitioner’s

guilt with her; that he also explained to Petitioner the breadth of conspiracy

under federal law; and that, because she was found in close proximity to

crack cocaine, the likelihood of a guilty verdict, if she proceeded to trial, was

“fairly high.”   [Id. at 20-21, 36-38].        Mr. Grigsby explained that he told

Petitioner that the guilty plea was an option and he “gave her the information

. . . [about] what was probably going to happen given her decision either

way.” [Id. at 21].

      Mr. Grigsby testified that the Rule 11 hearing was terminated when

Petitioner became upset and “confided to [him] that she couldn’t plead to

something she didn’t do.” [Id. at 23; see also id. at 15 (“[S]he broke down in

tears and said I can’t do it. She said I can’t sign something I didn’t do.”)]. He

further testified that she had repeatedly denied to him having any role in the

conspiracy. [Id. at 36 (“[S]he kept saying I didn’t do anything. I didn’t sell

any drugs.”)].


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      Petitioner’s sister, Kim Fountain, testified at the hearing that Petitioner

had a learning disability and that “she was always in special classes in

school.” [Id. at 51]. Ms. Fountain testified that she told Mr. Grigsby that he

needed to explain things to Petitioner as if she were a five-year-old because

“there’s a lot of stuff” Petitioner did not understand. [Id. at 54]. Ms. Fountain

also testified that Mr. Grigsby informed her when Petitioner signed the plea

agreement, explaining that the Government was offering Petitioner “ten

years.” [Id. at 55].

      Petitioner also testified at the hearing. [Id. at 58]. Petitioner testified

that she did not recall whether her first attorney, Fredilyn Sison, showed her

the Government’s evidence against her or a proposed plea agreement and

that her second attorney, Jack Stewart, encouraged her to cooperate with

the Government but did not share the Government’s discovery with her. [Id.

at 70, 72, 77, 78]. Petitioner testified that Mr. Stewart grew frustrated with

her and that her co-defendant, Doris Foster, wrote a letter requesting new

counsel for Petitioner. [Id. at 72-73]. When Petitioner was asked whether

she told Doris Foster what to put in the letter, Petitioner responded that she

did not tell Doris Foster what to write and did not know what was in the letter

when she gave it to Mr. Stewart. [Id. at 74].




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      Petitioner testified that she recalled meeting with Mr. Grigsby after her

family hired him to represent her but that he did not “talk to [her] about

conspiracy,” did not discuss with her the mandatory sentence she faced as

a result of the § 851 Notice, and did not discuss the Government’s evidence

against her, stating that she only “[saw] the evidence when [she] was in trial.”

[Id. at 61, 68, 77]. Petitioner testified that she explained to Mr. Grigsby that

she did not understand some of what he explained to her and that he would

need to “break stuff down.” [Id. at 79-80].

      Petitioner recalled signing her plea agreement and testified that she

did so because “people in the jail . . . said you can’t beat the Feds” and

because “[Mr. Grigsby] asked [her] to sign it.”               [Id. at 62-63, 78, 80].

Petitioner, who acknowledged that she had had prior experience with the

court system7, testified that she did not read the agreement or ask any

questions before she signed it and that, while she intended to plead guilty,

she did not know what a conspiracy was when she signed the agreement.

[Id. at 63, 80-82]. According to Petitioner, she did “not really” know why she

was brought to court on the day of her aborted Rule 11 hearing. [Id. at 63].

Petitioner testified that she broke down during the Rule 11 hearing and


7 Petitioner was convicted on or about April 27, 2000 for the sale and delivery of cocaine

in the Superior Court of Buncombe County, North Carolina. [See CR Doc. 153: 851
Notice].
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thought she was taken to a holding cell to compose herself and then to return

to the courtroom, but that Mr. Grigsby “never ended up coming back.” [Id. at

65, 68, 85].

         Petitioner testified that she learned what a conspiracy is only once she

was in prison. [Id. at 66-67]. Petitioner also admitted that she was guilty of

the conspiracy offense. [Id. at 91].

         At the conclusion of Petitioner’s testimony, this Court asked Petitioner

whether she had ever asked Mr. Grigsby what he meant when he told her

that the Government was not going to use her prior conviction against her if

she pleaded guilty.       [Id. at 94].   Petitioner replied, “No, sir. I do not

remember.” [Id.].

II.      DISCUSSION

         A.    Ineffective Assistance of Counsel Standard

         The Sixth Amendment to the United States Constitution guarantees

criminal defendants the right to effective assistance of counsel. See U.S.

CONST. art. VI. In order to challenge a conviction based on the ineffective

assistance of counsel, a petitioner has the burden of establishing that: (1)

defense       counsel’s   performance    was      deficient,   in    that   counsel’s

“representation fell below an objective standard of reasonableness” as

measured by “prevailing professional norms,” and (2) the petitioner was


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prejudiced thereby, meaning “there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have

been different.” Strickland v. Washington, 466 U.S. 668, 688, 694 (1984).

      To establish deficient performance by counsel, a petitioner must

overcome the “strong presumption that counsel’s conduct [fell] within the

wide range of reasonable professional assistance.” Strickland, 466 U.S. at

689. As the Strickland Court cautioned:

            Judicial scrutiny of counsel’s performance must be
            highly deferential. It is all too tempting for a defendant
            to second-guess counsel’s assistance after
            conviction or adverse sentence, and it is all too easy
            for a court, examining counsel’s defense after it has
            proved unsuccessful, to conclude that a particular act
            or omission of counsel was unreasonable. A fair
            assessment of attorney performance requires that
            every effort be made to eliminate the distorting
            effects of hindsight, to reconstruct the circumstances
            of counsel’s challenged conduct, and to evaluate the
            conduct from counsel’s perspective at the time.

Id. at 689 (citation omitted). In the end, to prevail on a claim of ineffective

assistance, a petitioner has the burden of showing “that counsel made errors

so serious that counsel was not functioning as the ‘counsel’ guaranteed the

defendant by the Sixth Amendment.” Harrington v. Richter, 562 U.S. 86, 104

(2011) (quoting Strickland, 466 U.S. at 687).

      The Supreme Court has long recognized that the right to effective

assistance of counsel extends to the plea negotiation process. See Padilla
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v. Kentucky, 559 U.S. 356, 373 (2010); McMann v. Richardson, 397 U.S.

759, 771 (1970). More recently, the Court endeavored to define the

responsibilities and duties of counsel during plea negotiations in two seminal

cases, Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132

S. Ct. 1399 (2012). In these cases, which were decided on the same day,

the Court applied the well-established Strickland analysis to conclude that

the right to effective assistance may be violated when counsel fails to give

proper advice regarding the rejection of a plea offer, Lafler, 132 S. Ct. at

1384, or when counsel fails to communicate a formal plea offer, Frye, 132 S.

Ct. at 1409. The instant case presents the Court with the task of applying

the rationale of Lafler to counsel’s conduct in advising Petitioner regarding

her decision to withdraw her assent to the Plea Agreement and instead

proceed to trial.

      B.    Petitioner’s Claim that Counsel Failed to Explain Plea Offer

      The Supreme Court has acknowledged that defining the duties and

responsibilities of defense counsel in plea negotiations is “a difficult

question.” Frye, 132 S. Ct. at 1408. The Court, however, has noted that

“[p]revailing norms of practice as reflected in American Bar Association

standards and the like . . . are guides to determining what is reasonable ....”

Strickland, 466 U.S. at 688; see also Frye, 132 S. Ct. at 1408 (noting that


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although “the standard for counsel’s performance is not determined solely

by reference to codified standards of professional practice, these standards

can be important guides”). With respect to advising clients as to whether to

accept or reject a plea offer, the American Bar Association standards state

that counsel should, after conducting an appropriate investigation, “advise

the defendant of the alternatives available and address considerations

deemed important by defense counsel or the defendant in reaching a

decision.” ABA Standards for Criminal Justice Pleas of Guilty, Standard 14-

3.2(b) (3d ed. 1999). Adequate representation with regard to a proposed

guilty plea requires not only investigation and study of the evidence, but also

a meaningful analysis of the defendant’s potential sentencing exposure.

Handley v. United States, 47 F. Supp. 3d 712, 717 (N.D. Ill. 2014) (quoting

ABA Standards for Criminal Justice Pleas of Guilty, Commentary on

Standard 14–3.2(b)).

      Here, Petitioner has failed to present any competent evidence that Mr.

Grigsby failed properly to advise her of the Government’s plea offer or its

consequences. During his testimony before this Court, Mr. Grigsby stated

unequivocally that he repeatedly advised Petitioner of the 20-year

mandatory-minimum term of imprisonment she faced if she chose to go to

trial and was convicted. He also testified unequivocally that he advised


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Petitioner that if she pleaded guilty she faced a mandatory-minimum term of

10 years, rather than 20 years. Mr. Grigsby testified that he spent a lot of

time explaining the consequences of the Government’s plea offer on the day

he delivered the proposed agreement to Petitioner, noting that he drove from

Washington, D.C. to Asheville solely for the purpose of counseling Petitioner

about the plea offer and was not rushed because she was his only client in

the area. Mr. Grigsby also testified that he was not informed that Petitioner

has learning disabilities and that he discerned no problems with her ability to

comprehend the advice he gave her as she decided whether or not to plead

guilty. Mr. Grigsby’s testimony was specific and consistent and evidenced

his understanding of the scope of “conspiracy” under federal law and the

sentencing consequences of the decision to accept or reject the

Government’s plea offer.

      Petitioner testified that Mr. Grigsby placed a single sheet of paper

purporting to be her plea agreement in front of her and asked her to sign

without explaining its terms or the consequences of a guilty plea. Petitioner’s

testimony on this point, however, simply is not credible. While Petitioner

claims that Mr. Grigsby did not provide any explanation of her potential plea,

she acknowledged in response to this Court’s questions at the evidentiary




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hearing that she had been advised that the Government would not use her

prior drug-trafficking conviction against her if she pleaded guilty.

      In favor of her motion to vacate, Petitioner argues that the fact that she

had signed the plea agreement constitutes evidence that she truly intended

to plead guilty and that Mr. Grigsby provided deficient representation when

he informed this Court at the aborted Rule 11 hearing that Petitioner had

decided to withdraw her guilty plea and proceed to trial. This argument,

however, is belied by Petitioner’s claim that she never knew what was in the

Plea Agreement at the time she signed the single page that was put before

her to sign. This argument is also belied by the fact that Petitioner stood

silent when Mr. Grigsby told the Court at the Rule 11 hearing that she wished

to withdraw her plea and proceed to trial.

      Petitioner also argues that her admission that she was guilty of the

conspiracy offense supports her assertion that she always intended to plead

guilty. This argument, however, is inconsistent with her assertions that she

was unaware of the evidence against her until she went to trial and that she

did not understand what constituted a conspiracy until she was imprisoned.

It is also inconsistent with her repeated statements to her counsel denying

any involvement in the conspiracy.




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       Petitioner further argues that “while there is no doubt that [Mr. Grigsby]

is competent to understand the offered plea bargain and the consequences

[to Petitioner] of a trial, there is no evidence to suggest that he explained

those concepts to [Petitioner] sufficiently for her to understand them.” [Doc.

40 at 8]. In fact, Petitioner testified at the evidentiary hearing that Mr. Grigsby

failed to provide any explanation of the plea offer and its consequences

before having Petitioner sign it. Contrary to Petitioner’s claim, however, the

Government presented competent proof through the testimony of Mr.

Grigsby that he gave a detailed explanation of the plea offer and its

consequences to Petitioner. Mr. Grigsby further testified that he was not

aware of any comprehension difficulties that Petitioner had during his

representation of her, and Petitioner admittedly asked no questions of Mr.

Grigsby that would have prompted additional explanation. On these issues,

the Court credits Mr. Grigsby’s testimony.8




8  Finally, Petitioner contends that “it is clear that Mr. Grigsby does not emphasize the
importance of keeping his clients informed as to the details of their cases” [Doc. 40 at 8],
citing in support of this argument various disciplinary proceedings currently pending
against Mr. Grigsby in the District of Columbia arising from his representation of other
clients in various civil matters in that jurisdiction. The Court has reviewed such records
and finds them to have no relevance to the issues presented in the instant proceedings.
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III.   CONCLUSION

       For the foregoing reasons, the Court concludes that Petitioner has

failed to demonstrate that Grigsby failed properly to advise her of the

Government’s plea offer or its consequences.          Accordingly, Petitioner’s

Motion to Vacate is denied and dismissed.

       The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong”)

(citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner has failed

to demonstrate both that this Court’s dispositive procedural rulings are

debatable, and that the Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.




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                                 ORDER

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Summary Judgment, as corrected [Docs. 14, 15] is GRANTED, and

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence filed pursuant

to 28 U.S.C. § 2255 [Doc. 1] is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.
                                Signed: October 7, 2016




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